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  Review

  Reconsidering Informed Consent for Trans-Identified Children,
  Adolescents, and Young Adults
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      ABSTRACT                                                                                                 KEYWORDS
      In less than a decade, the western world has witnessed an unprecedented                                  Informed consent;
      rise in the numbers of children and adolescents seeking gender transition.                               ethics;
                                                                                                               gender dysphoria;
      Despite the precedent of years of gender-affirmative care, the social, medical
                                                                                                               gender identity;
      and surgical interventions are still based on very low-quality evidence. The                             detransition
      many risks of these interventions, including medicalizing a temporary ado-
      lescent identity, have come into a clearer focus through an awareness of
      detransitioners. The risks of gender-affirmative care are ethically managed
      through a properly conducted informed consent process. Its elements—
      deliberate sharing of the hoped-for benefits, known risks and long-term
      outcomes, and alternative treatments—must be delivered in a manner that
      promotes comprehension. The process is limited by: erroneous professional
      assumptions; poor quality of the initial evaluations; and inaccurate and
      incomplete information shared with patients and their parents. We discuss
      data on suicide and present the limitations of the Dutch studies that have
      been the basis for interventions. Beliefs about gender-affirmative care need
      to be separated from the established facts. A proper informed consent
      processes can both prepare parents and patients for the difficult choices
      that they must make and can ease professionals’ ethical tensions. Even
      when properly accomplished, however, some clinical circumstances exist
      that remain quite uncertain.




  Introduction
  Reconsideration of the meanings, purposes, indications, and processes of informed consent for
  transgender-identified youth is urgently needed. Parents of gender atypical children are consid-
  ering social transition as early as preschool or grade school. Parents of preteens and teens are
  considering supporting their children’s wishes to present in a new gender, take puberty blockers,
  cross-sex hormones, and plan for surgical alterations. College-aged youth are declaring new
  identities for the first time and obtaining hormones and surgery without their parents’ knowledge.
     When uncertain parents of children and teens consult their primary care providers, they are
  usually referred to specialty gender services. Parents and referring clinicians assume that spe-
  cialists with “gender expertise” will undertake a thorough evaluation. However, the evaluations
  preceding the recommendation for gender transition are often surprisingly brief (Anderson &
  Edwards-Leeper, 2021) and typically lead to a recommendation for hormones and surgery, known
  as gender-affirmative treatment.

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     Despite the widely recognized deficiencies in the evidence supporting gender-affirmative
  interventions (National Institute for Health & Care Excellence, 2020a; 2020b), the process of
  obtaining informed consent from patients and their families has no established standard. There
  is no consensus about the requisite elements of evaluations, nor is there unanimity about how
  informed consent processes should be conducted (Byne et al., 2012). These two matters are
  inconsistent from practitioner to practitioner, clinic to clinic, and country to country.
     Social transition, hormonal interventions, and surgery have profound implications for the
  course of the lives of young patients and their families. It is incumbent upon professionals that
  these consequences be thoroughly, patiently clarified over time prior to undertaking any element
  of transition. The informed consent process does not preclude transition; it merely educates the
  family about the state of the science underpinning the decision to transition. Social transition,
  hormones, and surgeries are unproven in a strict scientific sense, and as such, to be ethical,
  require a thorough and fully informed consent process.



  Ethical Concerns About Inadequate Informed Consent
  The concept of informed consent in medicine has roots in both ethical theory and law. The
  ethical foundation is centered in the principles of beneficence, justice, and respect for autonomy,
  while the legal issues have to do with questions of malpractice (Katz et al., 2016).
     Patients consenting to treatment must meet age-based and decisional capacity requirements
  (Katz et al., 2016). Minors less than the age of consent participate in decision-making by pro-
  viding assent—an agreement with the intervention. The limited maturational cognitive capacities
  of minors are the key reason why parents serve as the ethical and legal surrogates for medical
  decision-making, tasked with signing an informed consent document (Grootens-Wiegers, Hein,
  van den Broek, & de Vries, 2017).
     The informed consent process consists of three main elements: a disclosure of information
  about the nature of the condition and the proposed treatment and its alternatives; an assessment
  of patient and caregiver understanding of the information and capacity for medical decision-making;
  and obtaining the signatures that signify informed consent has been obtained (Katz et al., 2016).
  The current expectation that clinicians and institutions are required to thoroughly inform their
  patients about the benefits, risks, and uncertainties of a particular treatment, as well as about
  alternatives, has a long legal history in the United States (Lynch, Joffe, & Feldman, 2018).
     Ethical concerns about inadequate informed consent for trans-identified youth have several
  potentially problematic sources, including erroneous assumptions held by professionals; poor
  quality of the evaluation process; and incomplete and inaccurate information that the patients and
  family members are given.
     These concerns are amplified by the dramatic growth in demand for youth gender transition
  witnessed in the last several years that has led to a perfunctory informed consent process. A
  rushed process does not allow for a proper discussion of not only the benefits, but the profound
  risks and uncertainties associated with gender transition, especially when gender transition is
  undertaken before mature adulthood.

      a.   Dramatic growth in demand for services threatens true informed consent

     Gender identity variations were thought to be extremely rare a generation ago. While the
  incidence in youth had not been officially estimated, in adults it was 2-14 per 100,000 (American
  Psychiatric Association, 2013, p. 454). However, around 2006, the incidence among youth began
  to rise, with a dramatic increase observed in 2015 (Aitken et al., 2015, de Graaf, Giovanardi,
  Zitz, & Carmichael, 2018). Currently, 2-9% of U.S. high school students now identify as trans-
  gender, while in colleges, 3% of males and 5% of females identify as gender-diverse (American
  College Health Association, 2021; Johns et al., 2019; Kidd et al., 2021).
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     Whereas previously most of the affected individuals identified as the opposite sex, there is
  now a growing trend toward identifying as nonbinary: neither male nor female or both male
  and female (Chew et al., 2020). A recent study reported that the majority of transgender-identifying
  youth (63%) now have a non-binary identity (Green, DeChants, Price, & Davis, 2021). Although
  the incidence of natal males asserting a trans identity in adolescence has significantly increased,
  the dramatic increase is driven primarily by the increase in natal females requesting services
  (Zucker, 2017). Many suffer from significant comorbid mental health disorders, have neurocog-
  nitive difficulties such as ADHD or autism or have a history of trauma (Becerra-Culqui et al.,
  2018; Kozlowska, McClure, et al., 2021).
     The increase in rates of transgender identification is reflected in the numbers of youth seeking
  help from medical professionals. For example, according to data reported by the Tavistock gender
  clinic in the UK, in 2009, there were 51 requests for services (de Graaf et al., 2018); in 2019-2020,
  2728 referrals were recorded—a 53-fold increase in just over a decade (Tavistock & Portman
  NHS Foundation Trust, 2020). The growing number of urban transgender health centers that
  have arisen in recent years (HRC, n.d.) reflects the increased demand for gender-related medical
  care among young people in North America Australia, and Europe.
     This unprecedented increase has created pressure on institutions and practitioners to rapidly
  evaluate these youth and make recommendations about treatment. To respond to growing demand,
  an innovative informed consent model of care has been developed. Under this model, mental
  health evaluations are not required, and hormones can be provided after just one visit following
  the collection of a patient’s or guardian’s consent signature (Schulz, 2018). The provision of
  transition services under this model of care is available not just to those over 18, but for younger
  patients as well (Planned Parenthood League of Massachusetts, n.d.).
     Although following the informed consent model of care for hormones and surgeries for youth
  may diminish clinicians’ ethical or moral unease (Vrouenraets et al., 2020), we believe this model
  is the antithesis of true informed consent, as it jeopardizes the ethical foundation of patient
  autonomy. Autonomy is not respected when patients consenting to the treatment do not have
  an accurate understanding of the risks, benefits, and alternatives.

    b.   Assumptions held by professionals influence the integrity of the informed consent process

     Gender dysphoric children and teens can intensely occupy the belief that their lives will be
  immensely improved by transition. Clinicians who have embraced the gender-affirmative model
  of care operate on the assumption that children and teens know best what they need to be
  happy and productive (Ehrensaft, 2017). These professionals, responding to the youths’ passionate
  pleas, see their role as validating the young person’s fervent wishes for hormones and surgery
  and clearing the path for gender transition. In doing so, they privilege the ethical principle of
  respect for patient autonomy (Clark & Virani, 2021) over their obligations for beneficence and
  non-maleficence.
     Many of the gender-affirmative clinicians subscribe to the theory of minority stress – the
  supposition that the frequently co-occurring psychiatric symptoms of gender dysphoric individuals
  are a result of prejudice and discrimination brought about by gender non-conformity (Rood
  et al., 2016; Zucker, 2019), and that gender transition will ameliorate these symptoms. Some
  even claim that gender-affirmative care will successfully treat not only depression and anxiety
  but will also resolve neurocognitive deficits frequently present in gender dysphoric individuals
  (Turban, 2018; Turban, King, Carswell, & Keuroghlian, 2020; Turban & van Schalkwyk, 2018).
  These latter assertions have proven controversial even among the proponents of gender-affirmative
  interventions (Strang et al., 2018; van der Miesen, Cohen-Kettenis, & de Vries, 2018). The
  minority stress theory as the sole explanatory mechanism for co-occurring mental health illness
  has also been questioned in light of the evidence that psychiatric symptoms frequently pre-date
  the onset of gender dysphoria (Bechard, VanderLaan, Wood, Wasserman, & Zucker, 2017;
  Kaltiala-Heino, Sumia, Työläjärvi, & Lindberg, 2015; Kozlowska, Chudleigh, McClure, Maguire,
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  & Ambler, 2021). Other clinicians recognize the limits of gender-affirmative care and are aware
  that youth with underlying psychiatric issues are likely to continue to struggle post-transition
  (Kaltiala, Heino, Työläjärvi, & Suomalainen, 2020), but, unaware of alternative approaches such
  as gender-exploratory psychotherapy or watchful waiting (Bonfatto & Crasnow, 2018; Churcher
  Clarke & Spiliadis, 2019; Spiliadis, 2019), these well-meaning professionals continue to treat
  youth with gender-affirmative interventions despite lingering doubts.
     It is common for gender-affirmative specialists to erroneously believe that gender-affirmative
  interventions are a standard of care (Malone, D’Angelo, Beck, Mason, & Evans, 2021; Malone,
  Hruz, Mason, Beck, et al:, 2021). Despite the increasingly widespread professional beliefs in the
  safety and efficacy of pediatric gender transition, and the endorsement of this treatment pathway
  by a number of professional medical societies, the best available evidence suggests that the
  benefits of gender-affirmative interventions are of very low certainty (Clayton et al., 2021; National
  Institute for Health & Care Excellence, 2020a; 2020b) and must be carefully weighed against the
  health risks to fertility, bone, and cardiovascular health (Alzahrani et al., 2019; Biggs, 2021;
  Getahun et al., 2018; Hembree et al., 2017; Nota et al., 2019). Recently, emphasis has also been
  placed on psychosocial risks and as yet unknown medical risks (Malone, D’Angelo, et al., 2021).
     Five scientific observations question and refute the assumption that an individual’s experience
  of incongruence of sex and gender identity is best addressed by supporting the newly assumed
  gender identity with psychosocial and medical interventions.

      1.   The most foundational aspect of the diagnoses of “gender dysphoria” (DSM-5) and
           “gender incongruence” (ICD-11), requisite for the provision of medical treatment, is in
           flux, as professionals disagree on whether the presence of distress is a key diagnostic
           criterion, as stated in the DSM-5, or is irrelevant, as is the case according to the latest
           ICD-11 criteria (American Psychiatric Association, 2013; World Health Organization,
           2019). Further, these diagnoses have never been properly field-tested (de Vries et al.,
           2021).
      2.   There are no randomized controlled studies demonstrating the superiority of various
           affirmative interventions compared to alternatives. There isn’t even agreement about
           which outcome measures would be ideal in such studies.
      3.   There are few long-term follow-up studies of various interventions using predetermined
           outcome measures at designated intervals. Studies that have been conducted are, at best,
           inconsistent. Higher quality studies with longer-follow-up fail to demonstrate durable
           positive impacts on mental health (Bränström & Pachankis, 2020a; 2020b).
      4.   Rates of post-transition desistance, increased mental suffering, increased incidence of
           physical illness, educational failure, vocational inconstancy, and social isolation have not
           been established.
      5.   Numerous cross-sectional and prospective studies of transgender adults consistently
           demonstrate a high prevalence of serious mental health and social problems as well as
           suicide (Asscheman et al., 2011; Dhejne et al., 2011). Controversies about how to deal
           with trans-identified youth must consider the well described vulnerabilities of transgender
           adults.


     It is equally important to realize that to date, research about alternative approaches, such as
  psychotherapy or watchful waiting, shares the scientific limitations of the research of more
  invasive interventions: there are no control groups, nor is there systematic follow-up at prede-
  termined intervals with predetermined means of measurement (Bonfatto & Crasnow, 2018;
  Churcher Clarke & Spiliadis, 2019; Spiliadis, 2019). Parents and patients need to be informed
  of this as well.
     Perhaps the single most problematic assumption held by some gender clinicians is that the
  young patients have simply been “born in the wrong body.” This assumption seemingly frees
  clinicians from having to contend with the ethical dilemmas of recommending body-altering
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  interventions that are based on very low-quality evidence. Despite the principle of development
  that biology, psychosocial factors, and culture generate behavior, these clinicians may believe
  that atypical genders are created by biology. This reductionistic approach has been criticized
  repeatedly (Kendler, 2019).
      While the origins of childhood or adolescent onset of gender incongruence have not yet been
  fully elucidated, brain studies of increasing technical sophistication have yet to demonstrate a
  distinct structure or pattern that accounts for an atypical gender identity, after statistically con-
  trolling for sexual orientation and exposure to exogenous hormones (Frigerio, Ballerini, & Valdés
  Hernández, 2021). Twin studies also demonstrate that while biology plays a role in one’s expe-
  rience of “gender incongruence,” it is far from deterministic (Diamond, 2013).
      A growing number of clinicians and researchers are noting that the dramatic rise of teens
  declaring a trans identity appears to be, at least in part, a result of peer influence (Anderson,
  2022; Hutchinson, Midgen, & Spiliadis, 2020 Littman, 2018; Littman, 2020; Zucker, 2019). Some
  have noted yet another influx of trans-identified youth emerging during the COVID lockdowns,
  and have hypothesized that increased isolation coupled with heavy internet exposure may be
  responsible (Anderson, 2022). While the research into the phenomenon of social influence as a
  contributor to trans identification of youth is still in its infancy, the possibility that clinicians
  are providing treatments with permanent consequences to address what may be transient iden-
  tities in youth poses a serious ethical dilemma.

    c.   Poor evaluations

     There is a growing recognition that rapid evaluations which disregard factors contributing to
  the development of gender dysphoria in youth are problematic. In November 2021, two leaders
  of the World Professional Organization for Transgender Health (WPATH) warned the medical
  community that the “The mental health establishment is failing trans kids” (Anderson &
  Edwards-Leeper, 2021). Frequently, evaluations provided by gender clinicians may only ascertain
  the diagnosis of gender dysphoria (DSM-5) or its ICD-11 counterpart gender incongruence, and
  screen for conspicuous mental illness prior to recommending hormones and surgeries. These
  limited, abbreviated evaluations overlook, and as a result fail to address, the relevant issue of
  the forces that may have influenced the young person’s current gender identity.
     Confirming the young person’s self-diagnosis of gender dysphoria or gender incongruence is
  easy. Clarifying the developmental forces that have influenced it and determining an appropriate
  intervention are not. Contextualizing these forces involves an understanding of child and ado-
  lescent developmental processes, childhood adversity, co-existing physical and cognitive disad-
  vantages, unfortunate parental or family circumstances (Levine, 2021), as well as the role of
  social influence (Anderson, 2022; Anderson & Edwards-Leeper, 2021; Littman, 2018; 2021).
     The poor quality of mental health evaluations has been a point of significant discontent for
  a growing number of parents of gender dysphoric youth. Increasingly, parents have formed
  dozens of support groups in North America, Europe, Australia and New Zealand, united in their
  objections to the idea that the best or the only treatment for their gender dysphoric children
  is affirmation (Genspect, 2021). These distressed parents, recognizing that their son or daughter
  may eventually decide to present to others as a trans person, want a psychotherapeutic inves-
  tigation to understand what contributed to the development of this identity and an exploration
  of noninvasive treatment options. Frequently, they cannot find anyone in their community who
  does not recommend immediate affirmation.
     The American Academy of Pediatrics’ Committee of Bioethics recognizes that “parents…are
  better situated than others to understand the unique needs of their children and to make appro-
  priate, caring decisions regarding their children’s health care” (Katz et al., 2016). The plight of
  the families unable to find specialists capable of conducting thorough evaluations draws attention
  to the widespread acceptance of medical interventions for gender-dysphoric youth as the first
  line of treatment. The problem is that such care has been established through precedent rather
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  than through scientific demonstrations of its efficacy. We contend that parents and patients have
  a right to know this, and that it is the professionals’ responsibility and obligation to inform
  them of the state of knowledge in this arena of care.

      d.   Incorrect information shared

     In sharing the information with patients and families, two key areas of uncertainty must be
  emphasized. The first one is the uncertain permanence of a child’s or an adolescent’s gender
  identity (Littman, 2021; Ristori & Steensma, 2016; Singh, Bradley, & Zucker, 2021; Vandenbussche,
  2021; Zucker, 2017). The second is the uncertain long-term physical and psychological health
  outcomes of gender transition (National Institute for Health & Care Excellence, 2020a; 2020b).
  Unfortunately, gender specialists are frequently unfamiliar with, or discount the significance of,
  the research in support of these two concepts. As a result, the informed consent process rarely
  adequately discloses this information to patients and their families.
     Problematically, it is common for gender clinicians to emphasize the risk of suicide if a young
  person’s wish to transition gender is not immediately fulfilled. There is a significant amount of
  misinformation surrounding the question of suicidality of trans-identified youth (Biggs, 2022).
  Providers of gender-affirmative care should be careful not to unwittingly propagate misinforma-
  tion regarding suicide to parents and youths. They should also be reminded that any conversa-
  tions about suicide should be handled with great care, due to its socially contagious nature
  (Bridge et al., 2020; HHS, 2021).

      i.   High Rate of desistance/natural resolution of gender dysphoria in children is not
           disclosed

      There have been eleven research studies to date indicating a high rate of resolution of gender
  incongruence in children by late adolescence or young adulthood without medical interventions
  (Cantor, 2020; Ristori & Steensma, 2016; Singh et al., 2021). An attempt has been made to
  discount the applicability of this research, suggesting that the studies were based on merely
  gender non-conforming, rather than truly gender-dysphoric, children (Temple Newhook et al.,
  2018). However, a reanalysis of the data prompted by this critique confirmed the initial finding:
  Among children meeting the diagnostic criteria for “Gender Identity Disorder” in DSM-IV
  (currently “Gender Dysphoria in DSM-5), 67% were no longer gender dysphoric as adults; the
  rate of natural resolution for gender dysphoria was 93% for children whose gender dysphoria
  was significant but subthreshold for the DSM diagnosis (Zucker, et al., 2018). It should be noted
  that high resolution of childhood-onset gender dysphoria had been recorded before the practice
  of social transition of young children was endorsed by the American Academy of Pediatrics
  (Rafferty et al., 2018). It is possible that social transition will predispose a young person to
  persistence of transgender identity long-term (Zucker, 2020).
      The information regarding the resolution of gender dysphoria among those with adolescent-onset
  gender dysphoria, which is currently the predominant presentation, is less clear. A growing body
  of evidence suggests that for many teens and young adults, a post-pubertal onset of transgender
  identification can be a transient phase of identity exploration, rather than a permanent identity,
  as evidenced by a growing number of young detransitioners (Entwistle, 2020; Littman, 2021;
  Vandenbussche, 2021). Previously, the rate of detransition and regret was reported to be very
  low, although these estimates suffered from significant limitations and were likely undercounting
  true regret (D’Angelo, 2018). However, in the last several years since gender-affirmative care has
  become popularized, the rate of detransition appears to be accelerating.
      According to a recent study from a UK adult gender clinic, 6.9% of those treated with
  gender-affirmative interventions detransitioned within only 16 months of starting treatment, and
  another 3.4% had a pattern of care suggestive of detransition, yielding a rate of probable detran-
  sition in excess of 10%. Another 21.7% of patients disengaged from the clinic without completing
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  their treatment plan (Hall, Mitchell, & Sachdeva, 2021). While some of these individuals later
  reengaged with the gender service, the authors concluded, “detransitioning might be more fre-
  quent than previously reported.” Another study from a UK primary care practice found that
  12.2% of those who had started hormonal treatments either detransitioned or documented regret,
  while the total of 20% stopped the treatments for a wider range of reasons. The mean age of
  their presentation with gender dysphoria was 20, and the patients had been taking gender-affirming
  hormones for the average 5 years (17 months-10 years) prior to discontinuing.
      Comparing these much higher rates of treatment discontinuation and detransition to the
  significantly lower rates reported by the older studies, the researchers noted: “Thus, the detran-
  sition rate found in this population is novel and questions may be raised about the phenomenon
  of overdiagnosis, overtreatment, or iatrogenic harm as found in other medical fields” (Boyd,
  Hackett, & Bewley, 2022 p.15). Indeed, given that regret may take up to 8-11 years to materialize
  (Dhejne, Öberg, Arver, & Landén, 2014; Wiepjes et al., 2018), many more detransitioners are
  likely to emerge in the coming years. Detransitioner research is still in its infancy, but two
  recently published studies examining detransitioner experiences report that detransitioners from
  the recently-transitioning cohorts feel they had been rushed to medical gender-affirmative inter-
  ventions with irreversible effects, often without the benefit of appropriate, or in some instances
  any, psychologic exploration (Littman, 2021; Vandenbussche, 2021).
      Clinicians should also disclose to patients and parents that there is no test which can accu-
  rately predict who will persist in their transgender identification upon reaching mature adulthood
  (Ristori & Steensma, 2016). Families should be made aware that a period of strong cross-sex
  identification in childhood is commonly associated with future homosexuality (Korte et al., 2008).
  Research in desistance confirms that the majority of youth whose gender dysphoria resolves
  naturally do indeed grow up to be gay, lesbian, or bisexual adults (Cantor, 2020, Appendix;
  Singh et al., 2021).

    ii.   Implications of very low-quality evidence that underlies the practice of pediatric gender
          transition are not explained

     The quality of evidence underlying the practice of pediatric gender transition is widely rec-
  ognized to be of very low quality (Hembree et al., 2017). In 2020, the most comprehensive
  systematic review of evidence to date, commissioned by the UK National Health System (NHS)
  and conducted by the National Institute for Health and Care Excellence (NICE), concluded that
  the evidence for both puberty blocking and cross-sex hormones is of very low certainty (National
  Institute for Health & Care Excellence, 2020a; 2020b).
     According to the NICE review of evidence for puberty blockers, the studies “are all small,
  uncontrolled observational studies, which are subject to bias and confounding, and are of very
  low certainty as assessed using modified GRADE [Grading of Recommendations, Assessment,
  Development and Evaluations]. All the included studies reported physical and mental health
  comorbidities and concomitant treatments very poorly” (National Institute for Health & Care
  Excellence, 2020a, p.13). NICE reached similar conclusions regarding the quality of the evidence
  for cross-sex hormones (National Institute for Health & Care Excellence, 2020b).
     Problematically, the implications of administering a treatment with irreversible, life-changing
  consequences based on evidence that has an official designation of “very low certainty” according
  to modified GRADE is rarely discussed with the patients and the families. GRADE is the most
  widely adopted tool for grading the quality of evidence and for making treatment recommen-
  dations worldwide. GRADE has four levels of evidence, also known as certainty in evidence or
  quality of evidence: very low, low, moderate, and high (BMJ Best Practice, 2021). When evidence
  is assessed to be “very low certainty,” there is a high likelihood that the patients will not expe-
  rience the effects of the proposed interventions (Balshem et al., 2011).
     In the context of providing puberty blockers and cross-sex hormones, the designation of “very
  low certainty” signals that the body of evidence asserting the benefits of these interventions is
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  highly unreliable. In contrast, several negative effects are quite certain. For example, puberty
  blockade followed by cross-sex hormones leads to infertility and sterility (Laidlaw, Van Meter,
  Hruz, Van Mol, & Malone, 2019). Surgeries to remove breasts or sex organs are irreversible.
  Other health risks, including risks to bone and cardiovascular health, are not fully understood
  and are uncertain, but the emerging evidence is alarming (Alzahrani et al., 2019; Biggs, 2021).

      iii. The question of suicide is inappropriately handled

      Suicide among trans-identified youth is significantly elevated compared to the general pop-
  ulation of youth (Biggs, 2022; de Graaf et al., 2020). However, the “transition or die” narrative,
  whereby parents are told that their only choice is between a “live trans daughter or a dead son”
  (or vice-versa), is both factually inaccurate and ethically fraught. Disseminating such alarmist
  messages hurts the majority of trans-identified youth who are not at risk for suicide. It also
  hurts the minority who are at risk, and who, as a result of such misinformation, may forgo
  evidence-based suicide prevention intervention in the false hopes that transition will prevent
  suicide.
      The notion that trans-identified youth are at alarmingly high risk of suicide usually stems
  from biased online samples that rely on self-report (D’Angelo et al., 2020; James et al., 2016; The
  Trevor Project, 2021), and frequently conflates suicidal thoughts and non-suicidal self-harm with
  serious suicide attempts and completed suicides. Until recently, little was known about the actual
  rate of suicide of trans-identified youth. However, a recent analysis of data from the biggest
  pediatric gender clinic in the world, the UK’s Tavistock, found the rate of completed youth
  suicides to be 0.03% over a 10-year period, which translates into the annual rate of 13 per
  100,000 (Biggs, 2022). While this rate is significantly elevated compared to the general population
  of teens, it is far from the epidemic of trans suicides portrayed by the media.
      The “transition or die” narrative regards suicidal risk in trans-identified youth as a different
  phenomenon than suicidal risk among other youth. Making them an exception falsely promises
  the parents that immediate transition will remove the risk of suicidal self-harm. Trans patients
  themselves complain about the so-called “trans broken arm syndrome” – a frustrating pattern
  whereby physicians “blame” all the problems the patients are experiencing on their trans status,
  and a result, fail to perceive and respond to other sources of distress (Paine, 2021). Clinicians
  caring for trans-identified youth should be reminded that suicide risk in all patients is a
  multi-factorial phenomenon (Mars et al., 2019). To treat trans youths’ suicidality as an exception
  is to deny them evidence-based care.
      A recent study of three major youth clinics concluded that suicidality of trans-identifying
  teens is only somewhat elevated compared to that of youth referred for mental health issues
  unrelated to gender identity struggles (de Graaf et al., 2020). Another study found that
  transgender-identifying teens have relatively similar rates of suicidality compared to teens who
  are gay, lesbian and bisexual (Toomey, Syvertsen, & Shramko, 2018). Depression, eating disorders,
  autism spectrum conditions, and other mental health conditions commonly found in
  transgender-identifying youth (Kaltiala-Heino, Bergman, Työläjärvi, & Frisen, 2018; Kozlowska,
  McClure, et al., 2021; Morandini, Kelly, de Graaf, Carmichael, & Dar-Nimrod, 2021) are all
  known to independently contribute to the probability of suicide (Biggs, 2022; Simon & VonKorff,
  1998; Smith, Zuromski, & Dodd, 2018).
      The “transition or suicide” narrative falsely implies that transition will prevent suicides.
  Clinicians working with trans-identified youth should be aware that although in the short-term,
  gender-affirmative interventions can lead to improvements in some measures of suicidality
  (Kaltiala et al., 2020), neither hormones nor surgeries have been showed to reduce suicidality
  in the long-term (Bränström & Pachankis, 2020a; 2020b). Alarmingly, a longitudinal study from
  Sweden that covered more than a 30-year span found that adults who underwent surgical tran-
  sition were 19 times more likely than their age-matched peers to die by suicide overall, with
  female-to-male participants’ risk 40 times the expected rate (Dhejne et al., 2011, Table S1).
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  Another key longitudinal study from the Netherlands concluded that suicides occur at a similar
  rate at all stages of transition, from pretreatment assessment to post-transition follow-up (Wiepjes
  et al., 2020). The data from the Tavistock clinic also did not show a statistically significant
  difference between completed suicides in the “waitlist” vs. the “treated” groups (Biggs, 2022).
  Luckily, in both groups, completed suicides were rare events (which may have been responsible
  for the lack of statistical significance). Thus, we consider the “transition or die” narrative to be
  misinformed and ethically wrong.
     In our experience in working with trans-identified youth, an adolescent’s suicidality can
  sometimes arise as a response to parental distress, resistance, skepticism, or wish to investigate
  the forces shaping the new gender identity before social transition and hormone therapy. When
  mental health professionals or other healthcare providers fail to recognize the legitimacy of
  parental concerns, or label the parents as transphobic, this only tends to intensify intrafamilial
  tension. Clinicians would be well-advised that gender transition is not an appropriate response
  to suicidal intent or threat, as it ignores the larger mental health and social context of the young
  patient’s life—the entire family is often in crisis. Trans-identified adolescents should be screened
  for self-harm and suicidality, and if suicidal behaviors are present, an appropriate evidence-based
  suicide prevention plan should be put in place (de Graaf et al., 2020).


  The Dutch Study: the questionable basis for the gender affirmative model of care
  for youth
  Few practitioners of gender-affirmative interventions, and even fewer patients and families, realize
  that the foundation of the practice of medically transitioning minors stems from a single Dutch
  proof of concept study, the outcomes of which were documented in two studies (de Vries,
  Steensma, Doreleijers, Cohen, & Kettenis, 2011; de Vries et al., 2014). The former (de Vries
  et al., 2011) reported on cases who underwent puberty blockade, while the latter (de Vries et al.,
  2014) reported on a subset of the cases who completed surgeries.
      The Dutch study subjects’ high level of psychological functioning at 1.5 years after surgery,
  which was the study end point, was an impressive feat. However, both of the studies suffer from
  a high risk of bias due to their study design, which is effectively a non-randomized case series—
  one of the lowest levels of evidence (Mathes & Pieper, 2017; National Institute for Health &
  Care Excellence, 2020a). In addition, the studies suffer from limited applicability to the popu-
  lations of adolescents presenting today (de Vries, 2020). The interventions described in the study
  are currently being applied to adolescents who were not cross-gender identified prior to puberty,
  who have significant mental health problems, as well as those who have non-binary identities—all
  of these presentations were explicitly disqualified from the Dutch protocol. Despite these lim-
  itations, the Dutch clinical experiment has become the basis for the practice of medical transition
  of minors worldwide and serves as the basis for the recommendations outlined in the 2017
  Endocrine Society guidelines (Hembree et al., 2017).
      We contend that the Dutch studies have been misunderstood and misrepresented as providing
  evidence of the safety and efficacy of these interventions for all youth. It is important that both
  the strengths and the weaknesses of these two studies are understood, as to date, the Dutch
  experience presents the best available evidence behind the practice of pediatric gender transition.


  Rationale for pediatric transition
  Prior to the 1990s, gender transitions were typically initiated in mature adults (Dhejne et al.,
  2011). However, it was noted that particularly for natal male patients, hormonal and surgical
  interventions failed to achieve satisfactory results, and patients had a “never disappearing mas-
  culine appearance” (Delemarre-van de Waal & Cohen-Kettenis, 2006). The lack of adequate
  cosmetic outcomes was thought to contribute to the frequently disappointing outcomes of medical
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  gender transition, with persistently high rates of mental illness and suicidality post-transition
  (Delemarre-van de Waal & Cohen-Kettenis, 2006; Dhejne et al., 2011; Ross & Need, 1989).
     In the mid 1990s, a team of Dutch researchers hypothesized that by carefully selecting a
  subset of gender dysphoric children who would likely be transgender-identified for the rest of
  their lives, and by medically intervening before puberty left an irreversible mark on their bodies,
  the cosmetic outcomes would be improved—and as a result, mental health outcomes might be
  improved (Gooren & Delemarre-van de Waal, 1996).


  Mixed study findings
  In 2014, the Dutch research team published a key longitudinal study of mental health outcomes
  of 55 youths who completed medical and surgical transition (de Vries et al., 2014). The 2014
  paper (sometimes referred to as the “Dutch study”) reported that for youth with severe gender
  dysphoria that started in early childhood and persisted into mid-adolescence, a sequence of
  puberty blockers, cross-sex hormones, and breast and genital surgeries (including a mandatory
  removal of the ovaries, uterus and testes), with ongoing extensive psychological support, was
  associated with positive mental health and overall function 1.5 years post-surgery.
     While the Dutch reported resolution of gender dysphoria post-surgery in study subjects, the
  reported psychological improvements were quite modest (de Vries et al., 2014). Of the 30 psy-
  chological measurements reported, nearly half showed no statistically significant improvements,
  while the changes in the other half were marginally clinically significant at best (Malone, D’Angelo,
  et al., 2021). The scores in anxiety, depression, and anger did not improve. The change in the
  Children’s Global Assessment Scale, which measures overall function, was one of the most
  impressive changes—however it too remained in the same range before and after treatment (de
  Vries et al., 2014).



  Problematic discordance between reduced gender dysphoria and lack of meaningful
  improvements in psychological measures
  The discordance between the marked reduction in gender dysphoria, as measured by the UGDS
  (Utrecht Gender Dysphoria Scale), and the lack of meaningful changes in psychological function
  using standard measures, warrants further examination. There are three plausible explanations
  for this lack of agreement. Any one of these three explanations calls into question the widely
  assumed notion that the medical interventions significantly improve mental health or lessen or
  eradicate gender dysphoria.
     One possible explanation is that gender dysphoria as measured by UGDS, and psychological
  function, as measured by most standard instruments, are not correlated. This contradicts the
  primary rationale for providing gender-affirmative treatments for youth (which is to improve
  psychological health and functioning), and if true, ethically threatens these medical interventions.
  The other plausible explanation stems from the high psychological function of all the subjects
  at baseline; the subjects were selected because they were free from significant mental health
  problems (de Vries et al., 2014). As a result, there was little opportunity to meaningfully improve.
  This explanation highlights a key limitation in applying the study’s results to the majority of
  today’s gender dysphoric youth, who often present with a high burden of mental illness
  (Becerra-Culqui et al., 2018; Kozlowska, McClure, et al., 2021). The study cannot be used as
  evidence that these procedures have been proven to improve depression, anxiety, and
  suicidality.
     A third possible explanation for the discordance between only minor changes in psychological
  outcomes but a significant drop in gender dysphoria comes from a close examination of the
  UGDS scale itself and how it was used by the Dutch researchers. This 12-item scale, designed
  by the Dutch to assess the severity of gender dysphoria and to identify candidates for hormones
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  and surgeries, consists of “male” (UGDS-aM) and “female” (UGDS-aF) versions (Iliadis et al.,
  2020). At baseline and after puberty suppression, biological females were given the “female”
  scale, while males were given the “male” scale. However, post-surgery, the scales were flipped:
  biological females were assessed using the “male” scale, while biological males were assessed on
  the “female” scale (de Vries et al., 2014). We maintain that this handling of the scales may have
  at best obscured, and at worst, severely compromised the ability to meaningfully track how
  gender dysphoria was affected throughout the treatment.
     Consider this example. At baseline, a gender dysphoric biological female would rate items
  from the “female” scale such as: “I prefer to behave like a boy” (item 1); “I feel unhappy because
  I have to behave like a girl” (item 6) and “I wish I had been born a boy” (item 12). Positive
  answers to these questions would have contributed to a high baseline gender dysphoria score.
  After the final surgery, however, this same patient would be asked to rate items from the “male”
  scale, including the following: “My life would be meaningless if I had to live as a boy” (item
  1); “I hate myself because I am a boy” (item 6) and “It would be better not to live than to live
  as a boy” (item 12). A gender dysphoric female would not endorse these statements (at any
  stage of the intervention), which would lead to a lower gender dysphoria score.
     Thus, the detected drop in the gender dysphoria scores for biological males and females may
  have had less to do with the success of the interventions, and more to do with switching the
  scale from the “female” to the “male” version (and vice-versa) between the baseline and
  post-surgical period. This, too, may explain why no changes in gender dysphoria were noted
  between baseline and the puberty blockade phase, and were only recorded after the final surgery,
  when the scale was switched.
     It must be considered that had the researchers administered the “flipped” scale earlier, at the
  completion of the puberty blocker stage, UGDS scale could have registered the reduction in
  gender dysphoria. Likewise, however, one must consider the possibility that had both sets of
  scales been administered to the same individual at baseline, a “reduction” in gender dysphoria
  could have been registered upon switching of the scale, well before any interventions began. The
  question here is whether the diminishment of quantitative measures of gender dysphoria is
  largely an artifact of what scale was used.
     It must be noted that the UGDS measure has been demonstrated only to effectively differ-
  entiate between clinically referred gender dysphoric individuals, non-clinically referred controls,
  and participants with disorders of sexual development, and was not designed to detect changes
  in gender dysphoria during treatment (Steensma, McGuire, Kreukels, et al. 2013). The presence
  of items such as “I dislike having erections” (item 11, UGDS-aM), which would have to be rated
  by birth-females, and “I hate menstruating because it makes me feel like a girl (item 10,
  UGDS-aF), which would be presented to birth-males, neither of which could be meaningfully
  rated by either at any stage of the interventions, further illustrates that UGDS has questionable
  validity for the purpose of detecting meaningful changes in gender dysphoria as a result of
  medical and surgical treatment.
     The updated UGDS scale (UGDS-GS), developed by the Dutch after the publication of their
  seminal study, has eliminated the two-sex version of the scale in favor of a single battery of
  questions applicable to both sexes (McGuire et al., 2020). This change may lead to a more reli-
  able measurement of treatment-associated changes in future research. Other gender dysphoria
  scales also exist (Hakeem, Črnčec, Asghari-Fard, Harte, & Eapen, 2016; Iliadis et al., 2020) and
  may or may not be better suited for the purposes of measuring the impact of medical inter-
  ventions on underlying gender distress. Gender dysphoria, of course, may also prove to be a
  more complex concept than can be measured by any scale.


  Other limitations
  The two Dutch studies were conducted without a control group (de Vries et al., 2011; de Vires
  et al., 2014). Nor could the researchers control for mental health interventions, which all the
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  subjects received in addition to hormones and surgery. The Dutch only evaluated mental health
  outcomes and did not assess physical health effects of hormones and surgery. The sample size
  was small: the final study reported the outcomes of only 55 children, and as few as 32 were
  evaluated on key measures of psychological outcomes.
      It is important to realize that the Dutch sample was carefully selected, which introduced
  a source of bias, and also challenges the study’s applicability. From the 196 adolescents ini-
  tially referred, 111 were considered eligible to start puberty blockers, and of this group, only
  the 70 most mature and mentally stable who proceeded to cross-sex hormones were included
  in the study (de Vries et al., 2011). Of note, 97% of the selected cases were attracted to
  members of their natal sex at baseline. All were cross-sex identified, with no cases of non-
  binary identities. The final study only followed 55, rather than the original 70 cases, further
  excluding from reporting the outcomes of subjects who had experienced adverse events,
  including: one death from surgery-related complications and three cases of complications
  such as obesity and diabetes that rendered subjects ineligible for surgery. Three more subjects
  refused to be contacted or dropped out of care, which may mask adverse outcomes (de Vries
  et al., 2014).
      There is no knowledge of the fate of 126 patients who did not participate in the Dutch
  study. Longer term outcomes of the subjects who did participate are lacking. We are aware
  of only one case of long-term follow-up for a female-to-male patient treated by the Dutch
  team in the 1990s. The case study describing the subject’s functioning at the age of 33 found
  that the patient did not regret gender transition. However, he reported struggling with sig-
  nificant shame related to the appearance of his genitals and to his inability to sexually func-
  tion; had problems maintaining long-term relationships; and experienced depressive symptoms
  (Cohen-Kettenis, Schagen, Steensma, de Vries, & Delemarre-van de Waal, 2011). Notably,
  these problems had not yet emerged when the same patient was assessed at the age of 20,
  when he reported high levels of satisfaction in general, and was “very satisfied with the results
  [of the metoidioplasty]” in particular (Cohen-Kettenis & van Goozen, 1998, p.248). Since the
  last round of psychological outcomes of the individuals in the Dutch study was obtained
  when the subjects were around 21 years of age (de Vries et al., 2014), it raises questions how
  they will fair in during the decade when new developmental tasks, such as, career develop-
  ment, forming long-term intimate relationships and friendships, or starting families come
  into focus.
      As to the unknown outcomes of the patients rejected by the Dutch protocol, one study did
  report on 14 adolescents who sought gender reassignment in the same clinic, but were disqual-
  ified from treatment due to “psychological or environmental problems” (Smith, Van Goozen, &
  Cohen-Kettenis, 2001, p. 473). The study found that at follow-up 1-7 years after the original
  application, 11 of the 14 no longer wished to transition, and 2 others only slightly regretted not
  transitioning (Malone, D’Angelo, et al., 2021; Smith et al., 2001). This further underscores the
  importance of conducting research utilizing control groups and following the subjects for an
  extended period.
      A recent attempt to replicate the results of the first Dutch study (de Vries et al., 2011) found
  no demonstrable psychological benefit from puberty blockade, but did find that the treatment
  adversely affected bone development (Carmichael et al., 2021). The final Dutch study (de Vries
  et al., 2014) has never been attempted to be replicated with or without a control group.


  The scaling of the Dutch Protocol beyond original indications
  The medical and surgical sequence of Dutch protocol has been aggressively scaled worldwide
  without the careful evaluations and vetting practiced by the Dutch. The protocol’s original
  investigators have recently expressed concern that the interventions they described have been
  widely adopted on four continents without several of the protocol’s essential discriminatory
  features (de Vries, 2020).
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      The extensive multi-year multidisciplinary evaluations of the children have been abbreviated
  or simply bypassed. The medical sequence is routinely used for children with post-pubertal
  onset of transgender identities complicated by mental health comorbidities (Kaltiala-Heino et al.,
  2018), and not just for those high-functioning adolescents with persistent early life
  cross-identifications, as was required by the Dutch protocol (de Vries & Cohen-Kettenis, 2012).
  Further, it has become increasingly common to socially transition children before puberty (Olson,
  Durwood, DeMeules, & McLaughlin, 2016), even though this was explicitly discouraged by the
  Dutch protocol at the time (de Vries & Cohen-Kettenis, 2012).
      In addition, medical transition is frequently initiated much earlier than recommended by
  the original protocol (de Vries & Cohen-Kettenis, 2012). The authors of the protocol were
  aware that most children would have a spontaneous realignment of their gender identity
  with sex by going through early- to mid-stages of puberty (Cohen-Kettenis, Delemarre-van
  de Waal, & Gooren, 2008). The average age of initiating puberty blockade in the Dutch study
  was around 15. In contrast, currently the age limit has been lowered to the age of Tanner
  stage II, which can occur as early as 8-9 years (Hembree et al., 2017). Irreversible cross-sex
  hormones, initiated in the Dutch study at the average age of nearly 17, are currently com-
  monly prescribed to 14-year-olds, and this lower age threshold has been recommended by
  draft recommendation by WPATH Standards of Care 8, the final version of which is due to
  be released in early 2022. The fact that children are transitioned before their identity is
  tested against the biological reality and before natural resolution of gender dysphoria has
  had a chance to occur is a major deviation from the original Dutch protocol. Systematic
  follow-up, reassessments, and tracking and publishing of outcomes are not performed.
      As the lead Dutch researchers have begun to call for more research into the novel presentation
  of gender dysphoria in youth (de Vries, 2020; Voorzij, 2021) and question the wisdom of applying
  the hormonal and surgical treatment protocols to the newly presenting cases, many recently
  educated gender specialists mistakenly believe that the Dutch protocol proved the concept that
  its sequence helps all gender-dysphoric youth. Although aware of the Dutch study’s importance,
  they seem to be unaware of its agreed upon limitations, and the Dutch clinicians’ own discomfort
  that most new trans-identified adolescents presenting for care today significantly differ from the
  population the Dutch had originally studied. These facts, of course, underscore the need for a
  robust informed consent process.

  The recommendations for informed consent process for children, adolescents, and
  young adults
  Consent for all stages of gender transition should be explicit, not implied
  Noninvasive medical care or care that carries little risk of harm does not require a signed
  informed consent document; rather, consent is implied through the act of a patient presenting
  for care. For example, when a parent brings in a child for a skin laceration or abscess, consent
  for sutures or simple incision and drainage is implied. Similarly, when a child presents with
  pneumonia and is hospitalized, consent for chest x-ray, IV fluids, and antibiotics is also implied.
  It is assumed that patients or their guardians agree to the interventions and understand the
  benefits and risks. When risks are greater, such as prior to surgery, chemotherapy, or another
  invasive procedure, an informed consent document is signed. Such situations require an explicit,
  or express informed consent.
     In the context of interventions for gender dysphoria or gender incongruence, the uncertainties
  associated with puberty blocking, cross-sex hormones, and gender-affirmative surgeries are
  well-recognized (Manrique et al., 2018; National Institute for Health & Care Excellence, 2020a;
  2020b; Wilson et al., 2018). In these cases, consent should be explicit rather than implied because
  of the complexity, uncertainty, and risks involved.
     Informed consent for social transition represents a gray area. Evidence suggests that
  social transition is associated with the persistence of gender dysphoria (Hembree et al.,
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  2017; Steensma, McGuire, Kreukels, Beekman, & Cohen-Kettenis, 2013). This suggests that
  social gender transition is a form of a psychological intervention with potential lasting
  effects (Zucker, 2020). While the causality has not been proven, the possibility of iatro-
  genesis and the resulting exposure to the risks of future medical and surgical gender
  dysphoria treatments, qualifies social gender transition for explicit, rather than implied,
  consent.


  Full unbiased disclosure of benefits, risks and alternatives is requisite
  When mental health professionals are involved in evaluations and recommendations, the
  informed consent process begins either as part of an extended evaluation or is integrated in
  a psychotherapeutic process, separately or together, with the parents and patient. When
  pediatricians, nurse practitioners, or primary care physicians perform the initial evaluation,
  the informed consent process is more likely to be labeled as such in a briefer series of
  meetings.
     In all settings, the informed consent discussions for gender-affirmative care should include
  three central ideas:

       1.   The decision to initiate gender transition may predispose the child to persist in their
            transgender identity long-term.
       2.   Many of the physical changes contemplated and undertaken are irreversible.
       3.   Careful long-term studies have not been done to verify that these interventions enable
            better physical and mental health or improved social functioning, or that they do not
            cause harm.

     The informed consent process, culminating with a signed document, signifies that parents
  and patient have been educated about the short- and long-term risks, benefits and uncertainties
  associated with all relevant stages of the gender-affirmative interventions. The process must also
  inform the patients and families about the full range of alternative treatments, including the
  choice of not socially or medically treating the child’s or adolescent’s current state of gender/
  body incongruence.


  Decisional capacity to consent needs to be assessed and family should be involved
  Trans-identified youth typically present themselves as strongly desiring hormones and ultimately,
  surgery. It should not be assumed that their eagerness is matched with the capacity to carefully
  consider the consequences of their realized desires. Trans-identified youth younger than the age
  of consent should be part of the informed consent process, but they may not be mature enough
  to recognize or admit their concerns about the proposed intervention. For this reason, it is the
  parents who, after careful consideration, are responsible for signing an informed consent
  document.
     The issue of the exact age at which adolescents are mature enough to consent to gender
  transition has proven contentious: courts have been asked to decide about competence to consent
  to gender-affirmative hormones for youth in the United Kingdom and Australia (Ouliaris, 2021).
  In the United States, the legal age for medical consent for gender-affirmative interventions varies
  by state.
     When patients are age 18 and older, and in some jurisdictions as young as age 15 (Right to
  medical or dental treatment without parental consent, 2010), they do not legally require parental
  approval for medical procedures. But because an individual’s change of gender has profound
  implications for parents, siblings, and other family members, it is usually prudent for clinicians
  to seek their input directly or indirectly during the informed consent process. This is done by
  requesting a meeting with the parents.
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     A recent study by a Dutch research team attempted to evaluate the decisional capacity of
  adolescents embarking on gender transition (Vrouenraets, de Vries, de Vries, van der Miesen,
  & Hein, 2021). The researchers administered the MacCAT-T tool, comprised of the understanding,
  appreciating, reasoning, and expressing a choice domains, to 74 adolescents who were 14.7 years
  old on average (with the minimum age of 10). They concluded that the adolescents were com-
  petent to consent for starting pubertal suppression, calling for similar research for the <12 group,
  particularly because “birth-assigned girls … may benefit from puberty suppression as early as
  9 years of age” (Vrouenraets et al., 2021 p.7).
     This study suffers from two significant limitations involving the MacCAT-T tool. It was never
  designed for children. Rather, it was designed to assess medical consent capacities of adults
  suffering from conditions such as dementia, schizophrenia, and other psychiatric disorders. There
  is a fundamental lack of equivalency between consenting to treatment by adults with cognitive
  impairments and obtaining consent from healthy children whose age-appropriate cognitive
  capacities are intact, but who lack the requisite life experiences to consent to profound life-changing
  medical interventions. We doubt, for example, whether even highly intelligent children who have
  not had sexual experiences can meaningfully comprehend the loss of future sexual function and
  reproductive abilities.
     In addition, even for adults, the MacCAT-T tool has been criticized for its exclusive focus
  on cognitive aspects of capacity, failing to account for the non-cognitive aspects such as values,
  emotions and other biographic and context specific aspects inherent in the complexity of the
  decision process in real life (Breden & Vollmann, 2004). Children’s values and emotions undergo
  tremendous change during the process of maturation.
     The authors’ conclusion about their young patients’ competence to consent should be com-
  pared with what a panel of judges wrote in the challenge to the Tavistock treatment protocol
  (Bell v Tavistock, 2020):

     …the clinical intervention we are concerned with here is different in kind to other treatments or clinical
     interventions. In other cases, medical treatment is used to remedy, or alleviate the symptoms of, a diag-
     nosed physical or mental condition, and the effects of that treatment are direct and usually apparent. The
     position in relation to puberty blockers would not seem to reflect that description. [para 135]


     …we consider the treatment in this case to be in entirely different territory from the type of medical
     treatment which is normally being considered. [para 140]

     … the combination here of lifelong and life changing treatment being given to children, with very limited
     knowledge of the degree to which it will or will not benefit them, is one that gives significant grounds
     for concern. [para 143]


     It seems clear that perceptions of children as young as 10 years of age as medically competent
  vary by country, state, and the institution where the doctor works, and, by clinicians’ beliefs
  about the long-term benefits of these interventions. We maintain that the claim that kids can
  consent to extreme life-altering interventions is a fundamentally a philosophical claim (Clark &
  Virani, 2021). Our view in this matter is that consent is primarily a parental function.



  Informed consent should be viewed as a process rather than an event
  Most institutions that care for transgender-identified individuals have devised obligatory consent
  forms that outline the risks and uncertainties of hormonal and surgical gender-affirmative inter-
  ventions. However, the requisite signatures are frequently collected in a perfunctory manner
  (Schulz, 2018), akin to signatures collected ahead of a common surgical procedure. The purpose
  of such informed consent documents appears to be to protect practitioners from lawsuits, rather
  than attend to the primary ethical foundation of the process.
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     Although obtaining the signatures is important, the signed document should signify that the
  process of informed consent has been undertaken over an extended time period and is not
  simply quickly completed (Vrouenraets et al., 2021). We believe the latter approach poses an
  ethical concern (Levine, 2019).
     The internal dynamics of the trans-identified young person and their families vary consid-
  erably. Parental capacities, their private marital and intrafamilial relationships, their cultural
  awareness, religious and political sensibilities all influence the amount of time necessary to
  undertake a thorough informed consent process. It is not prudent to suggest a specific duration
  for the process of informed consent, other than to emphasize that it requires a slow, patient,
  thoughtful question and answer period as the parents and patient contemplate the meaning of
  what is known and unknown and whether to embark on alternative approaches to the manage-
  ment of gender dysphoria before the age of full neurological maturity has been reached, mental
  health comorbidities have been addressed, and a true informed consent by the patient is
  more likely.


  Final thoughts
  Sixty years of experience providing medical and surgical assistance to transgender-identified
  persons have seen many changes in who is treated, when they are treated, and how they are
  treated. Today, the emphasis has shifted to the treatment of the unprecedented numbers of youth
  declaring a trans identity. As adolescents pursue social, medical, and surgical interventions,
  health care providers may experience unease about patients’ cognitive and emotional capacities
  to make decisions with life-changing and enduring consequences. An unrushed informed consent
  process helps the provider, the parents, and the patient.
      Three issues tend to obscure the salience of informed consent: conspicuous mental health
  problems, uncertainty about the minor’s personal capacity to understand the irreversible nature
  of the interventions, and parental disagreement. Physical and psychiatric comorbidities can
  contribute to the formation of a new identity, develop as its consequence, or bear no connection
  to it. Assessing mental health and the minor’s functionality is one of the reasons why rapid
  affirmative care may be dangerous for patients and their families. For example, when situations
  involve autism, learning disorders, sexual abuse, attachment problems, trauma, separation anxiety,
  previous depressed or anxious states, neglect, low IQ, past psychotic illness, eating disorders or
  parental mental illness, clinicians must choose between ignoring these potentially causative
  conditions and comorbidities and providing appropriate treatment before affirmative care (D’Angelo
  et al., 2020).
      For youth less than the age of majority, informed consent via parents provides a legal route
  for treatment but it does not make the decisions to transition, provide hormones, or surgically
  remove breasts or testes less fraught with uncertainty. The best that health professionals can do
  is to ensure that the consent process informs the patient and parents of the current state of
  science, which is sorely lacking in quality research. It is the professionals’ responsibility to ensure
  that the benefits patients and parents seek, and the risks they are assuming, are clearly appre-
  ciated as they prepare to make this often-excruciating decision.
      Young people who have reached the age of majority, but who have not reached full matu-
  ration of the brain represent a unique challenge. It is well-recognized that brain remodeling
  proceeds through the third decade of life, with the prefrontal cortex responsible for executive
  function and impulse control the last to mature (Katz et al., 2016). The growing number of
  detransitioners who had been old enough to legally consent to transition, but who no longer
  felt they were transgender upon reaching their mid-20’s, raises additional concerns about this
  vulnerable age group (Littman, 2021; Vandenbussche, 2021).
      When the clinician is uncertain whether a young person is competent to comprehend the
  implications of the desired treatment—that is, when informed consent cannot inform the
  patient—the clinician may need more time with the patient. When parents or guardians do
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  not agree about whether to use puberty blockers or cross-sex hormones, clinicians are in an
  uneasy spot (Levine, 2021). This occurs in both intact and divorced families. Australia has
  given legal instructions to clinicians facing these uncertainties: the court is to be asked to
  decide (Ouliaris, 2021). The court system in the UK has been grappling with similar issues in
  recent years. While it is a rare case that ends up in a courtroom, clinicians devoted to a
  deliberate informed consent process are still likely to encounter ethical dilemmas that they
  cannot resolve.


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